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JEUITIIIRTEeS °
; Phillip Clay Huckelby: and, Lisa Susan
Debtors pucnelby

 

Nam
United Stales Bankrupley Court forthe: “WESTERN DISTRICT-OF KENTUGKY

-Case number 20-10195-jal

 

Official Form 427
Gover Sheet for Reaffirmation Agreement

“Anyone wire Is a party ‘to a reaffirmation agreament may fH! out and file this form. Fill it out Completely,

:and file the documenta within the time set under Bankruptoy Rule 4008,

ER oom the Repayment Terms of the Reaffirmation Agronmont

First and Farmers. National Bank; inc.

1. Who Is the creditor? Name of the creditor

12/15

sach Tt the reaffirmation agreement,.

 

, 2. How much Is the debt? On the date thal the bankruptey case-fs'filed § 18,202.09.

 

 

To be paid under the- reaffirmation agreament:; 4 8,202.09 7 tt

 

 

 

. § : _.. st month for months (If fixed Interest rate)
3, What Is the Annual Before-the bankruptcy case was
Percentage Rate {APR) filed ____ 5.000. A
of Interest? (See Cindlentis iaftenatse Tonge [-] Fixed rate
‘Bankruptey Code [ ‘
65 B24(KNSNED) ___sgreement $000 % . IZ} Adjustable rate
4, Does collateral secure = [“] No Oo :
: the debt?
i A Yes. Deseribe the tollateral. Home. Equity. Line of. Credit on. 1 House. &

 

_ Currant markat value #41,000,00°

* 4cT8-acres a 5#9 Gar Hurt Road, Burkes: esyille, KY.42717

 

 

5, Does the creditor'assert —[y/] No
that the debtis

_ nendischargeable..

 

6..Using Information from incorie and expenses reporter on Sehe dules ‘end i. ‘
Schedule I: Your income : x} Tepe

. ine 4:
Expenses (Official Form tert lite 12 of Schedule |

10GU), fill in the amounts.

Columnn.A, line 22¢ of Schedule
J . : .

 

6b, Monthly expenses from ~§ Z oy i 3h, __ st

ncoina and expences stated on the renttinmation

 

nondischargeable? [J Yes, Atlach an explanation of the nature of the debl and the basis for conlending that the debt is

agreisient .

(Official Form, 106!) and .
Schedule J: Your 6a. Combined manthly income aS & 4 S6_ 6p, Monthly Income from all

sources after payroll
deductions

. Monthly expenses

 

 

 

 

 

 

Gc. Monthly payments on all ~ 0 ,DO 6g: Monthly payments on all - $ ©, aXe)
reaffinmed clebts nol fisted an realfirmad debts not ‘
Schedule J included In monthly
. expenses
6d. Scheduled. net monthly 3 3./ ye Gh.,Present net monthly 3 os} if :
income , : Income “oe
Subtract lines 6b and 6c from Subtract lines 6fand 6g
6a, . from Ge. -
If the total is less than 0, put'lhe If the total ts fess than 0,
number in brackets. put the number In
we hed . brackets.
Official Form 427 Cover Sheet for Reaffittnation Agreement page { .

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[- I
7. Are the income IZ] No ;
amounts on tines 6a : .
and 6e different? — [1] Yes. Explain why they are different and complete line
| 10,
§, Are the expense. J¥] No ,
amounts on (Ines 6b ,
and 6f different? LI Yes. | Explain why they are differant and complete {Ina
: 10. ‘ s
‘ . .
j ‘
9, Is the.nét monthly [Z]No . : Apresumption of hardship arises (unless the creditor Is a credit unton).
income iniine 6hiess . i Explain how the.déblar will make monthly payments on the reaffirmed debt and
[J Yes. : ‘Bay other living expenses. Complete line 10, -

 

 

   

    

10. Dabtor’s certification at eaeh explanation o7 lines.749 is iwue and correcl:, os Pe
abaut [Ines 7-8 : LILY. BF : 3 AW,
Ifany answer on lines 7-918 ’ (a aa ana ae
Yes, the debtor musi sign Signature of Debtor'2 (Spouse Only ina
here. Joint Case) .

 

| If-all the answers on lines
79 nya Vo, ge.toline V1.

11. Did an attomey LJNo

sta oe yoo

represént the.débtor In .
négotlatirig the .  Bé] ¥es. Has the attorney executed.a declaration or an affidavit fo support the reaffirmation agreement?
reaffirmation : ‘
agreement? [J No
[4] Yes

 

 

 

 

Whoever fills out this form | certify that the attached apreement Is.atrue and correct oopy of the reaffinnation agreement betwean the

 

must sign here, parties identified on this Cover Sheet for Reeffirmation Agreement.
X Jsi Harlan E. Judd, It ; Bats a Sel
‘Slgnatore . ‘ MM/DD /Yvvy

Harlan E, Judd, Ill
Printed Nene

i - ‘Check one:
_L Debtor or Debtor's Atlorney
IZ) Creditor.or'Creditor’s Attorney

 

 

 

tee : abet SreagaaRi. nn bees sami 2 ott etalon ster ies cere nievere et

Official Form 427 Cover Sheet for Reaffirmation Agreement page 2
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Lisa Susan Huckelby \

 

 

 
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B24G0A (Form B2400A) (12/15)

 

Cheek one.
LJ Presumption of Undue Hardship

Be No Presumption of Undue Hardship
Se Debtor's Statement In Support of Renffirmation, Part
below, to determine which- box to check.

 

 

 

United States Bankruptcy Court

Western District of Kentucky
Phillip Clay. Huckelby ee

Inte | Lisa. Susan Huckelby _ CeseNo, 20-10196-jal -

: Debtor Chapter =~ 7 .

REAFTIRMATION DOCUMENTS

Name of Creditor: _First'and Farmers National Bank, Inc.
1 Check this box if Creditor.is a Credit Union

PART L REAFFIRMATION AGREEMENT

Reaffirming a debt is a serious financial decision. Before entering inte this Reaffirmation A

greement, you must
review the important disclosures, instructions, and definitions found in Part V of this form.

A. Brief description of the original agreement being reaffirmed:

  

AZT es ee
* For éxtunple,aute.loam
B, AMOUNT REAFFIRMED: o_o 18,202.09
The Amount Reaffirmed is the entire amount that you are a

interest, arid fees and-costs (if any).arising on or before —_
portion of this. form (Part’V).

grecing to-pay, This may include unpaid principal,
1 Which is the date of the Disclosure Statement

See the definition of "Amount Reaffirmed" in Part V, Section-C below,
C. The ANNUAL PERCENTAGE RATE applicable to the‘Amount Reaffirmed is _ 5.000 Sei! oe
’ See definition of "Aymual Percentage Rate" in Pari V, Section G below.
This isa (check one) ["] Fixed-rate Vv) Variable rate

If the loan has a variable rate, the future interest rafe may

increase or decrease from the Afinyal Percentage Rute disclosed
here, ,

D. Reaffirmation Agreement Repayment Terms (check and coniplete.orie):
[.$____ per month for months starting on__,

[v] Describe repayment terms, including whether future payment amount(s) may be different fiom the initial
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B2400A (Form 2400A) (12/15)

payment amount.

Page2

This Is an Interest only revolving Hine of credit. The minimum payment is the total of any past
_ due amount & ariy late charges or fees plus the accrued Interest on the last day of the billing
cycle. A monthly statement will be sent to the Debtor(s),

E. Describe the collateral, if any, securing the debt:

Description: Home Equity Line of Credit on House &

1.78 acres at 549 Earl Hurt Road, Burkesville, KY
42717

_ Current Market Value 3. 41,000.00

F, Did the debt that is being reaffirming arise from the purchase of the collatéral described above?

M4 Yes. What was the purchase price for the collateral? $
[J No. What was the amount of the original loan? $

 

 

sebpeerarere

G. Specify the changes made by this Reaffirmation Agreement to the most recent credit terms on the reaffirmed debt
and any related agreement: = .

Terms as of the . Terms After

 

Date of Bankruptcy Reaffirmation
Balance due (including :
fees and costs) 3. 18,202.09 $18,202.09
Annual Percentage Rate 50% ; = 2.000%
Monthly Payment $ __ $

(ore te min ee petrern prere emepertay avsenwmadtianaas eteetontei

 

H. [4 Check this box if the creditor is agreeing to provide you with additional future credit in connection with.
this Reaffirmation Agreement, Describe the oredit limit, the Annual Percentage Rate that applies to
future credit and any other terms on future purchases and advances using such credit: ,

 

PART I, DEBTOR'S STATEMENT IN SUPPORT OF REAFFIRMATION AGREEMENT _

A. - Were you represented by an attorney during the course of negotiating this agreement?

Check one, W]-Yes (] No

B. Is the. creditor a credit union?

Check one.[7] Yes.. [J No

C. If your answer to EITHER question A. or B. above is "No" complete |. and 2. below.
1. Your present monthly income and expenses are:

a. Monthly income from all sources after payroll deductions : $ asy 4,30 .

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B2400A (Form 2400A) (12/15) | . . ~ Page 3
(take-home pay plus any other income) __.
b, Monthly expenses (including aff reaffirmed debts except this one) . . $ QQY7, 3b.
¢, Amouttt available to pay this reaffirmed debt (subtract’b. from B.) b_ 30 3. iy
d, Amount of monthly payment required for this reaffirmed debt. $_ 300. 00.

If the monthly payment on this reaffirmed debt (line d.) is gretter than the amount you have available to pay this
reaffirmed debt (line c.), youamust check the box al the top of page one that says “Presumption of Undue Hardship.”
Otherwise, you must check the box at the sop of page one that says "No Presumption of Undue Hardship."

2. You believe this reaffirmation agreement will not impose an undue hardship on you or on your dependents
because: ~ -

‘Check one of the two statements below, if applicable:

[¥] You can afford to make the payments on the reaffirmed debt because your monthly iricome is greater than
"your monthly expenses even after you include in your expenses the monthly payments on-all debts you are.
reaffirming, including this one. - ‘

oO You can afford to make the payments on the reaffirmed debt even though your monthly Income is less than
your monthly expenses after you include in your expenses the monthly payments on all debts you are
reaffirming, including.this one, because: ,

 

Use an additional page if needed for a’full explanation,

D, If your answers to: BOTH questions.A, aitd B, above were."Yes," check the following statement, if applicable:

[4 You believe this Reaffirmation Agreement ts in your financial interest and you can afford to make the
payments on the reaffirmed debt. ,

. Also, check the box at the top of page one that says. "No Presumption of Undue Hardship."

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B2400A (Form 2400A) (12/15) : Page 4

Part I. CERTIFICATION BY DEBTOR(S) AND SIGNATURES OF PARTIES
I hereby certify that:
(1) Lagree to reaffirm the debt described above.

(2) Before signing this Reaffirmation Agreement, | read the terms disclosed in this Reaffirmation Agreement
(Part 1) and the Disclosure Statement, Instructions and Definitions included in Part V below;

(3) The Debtor’s Statement in Support of Reaffirmation Agreement (Part I] above) is true and complete;
(4) lam entering into this agreement voluntarily and am fully informed of my tights and responsibilities; and

(5) I have received a copy of this completed and signed Reaffirmation Documents form.
SIGNATURE(S) (If this is a joint Reaffirmation Agreement, both debrors:must sign.): | Of
Date YA -ROAS Signature ¥ Lo bo A cue ae ree
Phillip Clay Hucke by |

ef Vf / Debtor 4

Date Y-~ D+ BORD Signature ~ As Atv if fh Pttl thithe

“Cisd Susan Huckelby’ é
; Joint Debtor, if any
Reaffirmation Agreement Terms Accepted by Creditor:

 

 

 

 

Creditor First and Farmers National Bank, Inc. 129 N. Main St, Burkesville, KY 42717
Print Name ) Addgess
Larry Walker Adrrwy Lebo, $-2P-20206
Print Name of Representative Signature o Date

PART IV. CERTIFICATION BY DEBTOR'S ATTORNEY (IF ANY)
To be filed only if the attorney represented the debtor during the course of negotiating this agreement.

Lhereby certify that: (1) this agreement represents a fully informed and voluntary agreement by the debtor; (2) this
agreement does not impose an undue hardship on the debtor or any dependent of the debtor; and (3) | have fully advised
the debtor of the legal effect and consequences of this agreement and any default under this agreernent.

[J A presumption of undue hardship has been established with respect to this agreement. In my opinion, however, the
debior is able to make the required payment.

Check box, if the presumption of undue hardship box is checked on page 1 and hoya not a Credit Union.
Date AOXNT-3.OBD Signature of Debtor's Attorney aia Con f

fe

 

Print Name of Debtor's Attomey _Benjamin D. psa

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B2400A (Form 2400A) (12/15) Page 5
PART V, DISCLOSURE STATEMENT AND INSTRUCTIONS TO DEBTOR(S)

Before agrecing to reaffirm a debt, revieve the terms disclosed in the Reaffirmation Agreement (Part I) and-these
additional iniportant disclostres and instructions. .

Reaffirming a debt is a serious financial decision, The law requires you to také certain steps-to make sure the decision
is in your best luterest, If these steps, ‘whioh-are detailed in the Instructions provided in Part V, Section B below, are not
completed, the Reaffirmation Agreemerit is not-effective, éven though you have signed ‘it.

A. DISCLOSURE STATEMENT

1, What are your obligations if you reaffirm a debt? A reaffirmed debt.remains your personal legal obligation
to pay. Your reaffirmed debt is not discharged in your bankruptcy case: That means that if you default on
your reaffirmed debt after your bankruptcy case is over, your creditor may be able to take Your property or
your wages. Your oliligations will be determined by the Reaffirmation Agreement, which may have.changed
the terms of the original agreement. If you are reaffirming an open end credit agreement, that agreeiment.or
applicable Jaw may petmit the ereditorto change the terms of that. agreement in the futureainder certain
conditions. - .

2. Are you required to enter into a reaffirmation agreement by any Inw? No, you are not required to
reaffirm a-debt by any law. Only agree to reaffirm a-debt if it is in your best interest, Be sure you can afford
the. payments that you agrec to make, , .

3. What if your eredifor has a'security interest or Hen? Your bankruptcy discharge does not élirainate “any
lien on your‘property, A “lien” js often referred to as a secuity interest, daed of trust, mortgage, or security:
deed. The property subject to a lien is often referred to ds collateral, Even if you'do not reaffirmand your
personial liability on the debt is discharged, your creditor may still -have a right under the lien to take the
collateral if you'do not pay or default on the debt, If the collateral is personal property that!ls exerpt or that
the trustee has abandoned, you may be:able to redeem. the item rather than reaffirm the debt. To redeem, you
make a single payment to the creditor equal to the current value of the. collateral, as the. patties agree ar'the

court deterinines..:

4, Tow soon do -yau need to enter into and file a reaffirmation agreement? Ifyou decide to enter inta-a
reaffirmation agreement, you muist do so before you receive your discharge. After-you have entered into 4
reaffirmation agreement-and all parts of this form that require a signature have been: signed, either yau or the
creditor should file it ds soon as possible,.The signed agreement must be filed with the court no later than 60
days after the. first date sét for fle meeting of creditors, so that the-court will liavé time to-schedule @ hearing
to approve the agreement if approval is required. However, the-court may extend the time for-filing, even after
the 60-day period:has ended.. , — . .

5. .Can you cancel the agreement? You may rescind (cancel) your Reaffirmation Agreement at any time before

fle bankruptey court enters your discharge, or during the 60-day period that begins on the date your
Reaffinnation Agreement is filed with the court, whichever occurs later. To rescind (cancel) your
Reaffirmation Agreement, you must notify the creditor that your Reaffirmation Agreement is rescinded {or
canceled). Remember that you can rescind the agreement, even if the court approves it, as Jong as you rescind
within the time allowed, ,

6. When will this Reaffirmation Agreement be effective?
a. If you were represented by an attorney during the negotiation of-your Reaffirmation Agreement

i. if the creditor is not a Credit Union, your Reaffirmation Agreement becomes: effective when it is filed
with the court unless the reaffirmation is presumed to bé an- undue hardship. If the Reaffirmation,
Agreement is presumed.to be.an undue hardship, the-court must review it and may set a hearing to
determine whether you'have rebutted the presumption of undue Nardship,
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ii, if the creditor is a Credit Union, your Reaffirmation Agreement becomes effective whan it is filed
with the court.

b, Hfyou were not represented by an attorney during the negotiation of your Reaffirmation Agréement,
the Reaffirmation Agieement will not be effective unless the court approves it, To have the court approve
your agreement, you must file:a motion. See Instruction 5, below, The court will notify-you aid the creditor
of the-hearing on your Reaffirmation Agreement, You must attend this-hearing, at which tle the‘judge will
review your Reaffirmation:Agreement, If the judge decides that the Reaffirmation Agreément isin your best
interest, the agreement will be approved and will become effective. However, If your'Reaffirmation
Agréement is for a consumer debt secured by a mortgage; deed of trust, security deed, or otter Jien on your
real property, like your home, you do not need to file a motion or get court approval of your Reaffitmation
Agreement.

‘What if you have questions about what a creditor can do? Ifyou have questions about reaffitming a debt
ar what the law requires, consult with the attorney whio- helped:you negotiate this agreement, If you do not

haye.atattorriey helping'you, you may ask the judge to explain the:efféct of this agreemient to you-at the.

‘hearing to approve the Reaffirmation Agreement, When this disclostire refers to whata ctéditor “may” do, ft

is not giving any ereditor permission to-do anything, The word “may” is used to tell you what might occar if
the law permits the eréditor to take the action,

B. INSTRUCTIONS

ds

Review these Disclosures and carefully consider your decision to reaffirm. If you want'to reaffium, review
and complete the inforniation contained in the Reaffirmation Agreement (Part 1 above). If your case ig a joint
case, both spouses must sign the agreement:{f both are reaffirming the debt,

Complete thé Debtor’s Statement in Support-of Reaffirmation Agreement (Part I above), Be stire that you
tan afford to-rbake the payments that you-are agreeing to make:arid that you have received a copy.of the
Disclosure Statement anda completed and sigiied. Reaffirmation Agréement.

If you were represetited by at attorney during the negotiation of your Reaffirmation Agreement, your attorney
‘must sign and date the.Certification Ay Debtor’s Attorney (Part TV above),

You. or your creditor must file with the court'the original of this Reaffirmation Documents packetand a

completed Reaffirmation Agreement Cover Sheet (Official Bankruptcy Form 427). .

dfyou are not represented by an attorney, you must-also complete and file with:the caurt a separate document

entitled “Motion for Court Approval of Reaffirmation A reement" unless your Reqffirmation Agreement is'for
PP ap &) y OM Bre ‘

a consumer debtsecured by q lign on your real Property, such-as your home. You-can use Form 2400B to do

- this,

G DEFINITIONS

1,

‘Amount Reaffirmed™ means the total amount of debt-that you are-agreeing to pay (reaffirm) by-efitering
into this agreement, The total amount of debt includes any: unpaid fees and costs that:you are‘agreeihg to pay
that arose-on or before the date of disclosure, which is.the date specified in-the Reatfirmation Agreement(Part —
1 Section B.above), Your credit agreement,may obligate you to'pay additional aimounts that arise after the
date of this-disclostire. You-should ‘consult-your credit,apreementto. determine whether you. are obligated to
pay additional-amounts that-may arise after the date of this disclosure.

"Annual Percentage Rate means the interest rate on a loan exprossed under the rules required by federal
law, The annual percentage rate (as opposed 'to the. “stated interest rate”) tells-you the full cost of your credit
including many of the creditor's fees-and charges. You will findthe annual percentage rate for your original.

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agreement on the disclosure statement that was given to you when the loan papers were signed or on the
monthly statements sent to-you for an open end credit-account such as a oredit card,
3. "Credit Union" means a-financial institution as defined in 12 U.S.C. § 461(b)(1)(A) (iv). It is owned and
_ controlled by and provides financial services to its members and typically uses words like. “Credit Union” or
initials ltke “C.U.” or “F:C.U.” in its name.

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